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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                             No. 14-36V
                                        Filed: April 22, 2016
*************************
JOAN KARL,                 *
                           *
               Petitioner, *                                                 Decision Based on Stipulation;
v.                         *                                                 Influenza (“flu”) vaccine;
                           *                                                 Inappropriate sinus
                           *                                                 tachycardia (“IST”).
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
               Respondent. *
*************************

Howard Gold, Gold Law Firms, LLC, Wellesley Hills, MA, for petitioner.
Ryan Pyles, United States. Department of Justice, Washington, DC, for respondent.

                                   DECISION ON JOINT STIPULATION1

Roth, Special Master:

        Joan Karl [“petitioner”] filed a petition for compensation under the National Vaccine
Injury Compensation Program2 on January 16, 2014. Petitioner alleges that she developed
significant tachycardia, inappropriate sinus tachycardia, non-specific ST abnormalities3 and
palpitations an influenza (“flu”) vaccination on January 6, 2012. See Petition, at 1. Respondent
denies that the influenza vaccine caused petitioner to suffer any injury and that her current
disabilities are a sequela of the vaccine-related injury. Stipulation at 1.

         Nevertheless, the parties have agreed to settle the case. On April 21, 2016, the parties
filed a joint stipulation agreeing to settle this case and describing the settlement terms.


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend to post this
decision on the United States Court of Federal Claims' website, in accordance with the E-Government Act of 2002,
Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). In
accordance with Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review, I agree that the
identified material fits within the requirements of that provision, I will delete such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease of
citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa (2012).

3
    In the Stipulation, petitioner alleges only inappropriate sinus tachycardia. See Stipulation at 1.
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Respondent agrees to issue the following payment:

             A lump sum of $40,000.00 in the form of a check payable to petitioner, Joan
             Karl. This amount represents compensation for all damages that would be available
             under § 300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The clerk of the court is directed to enter judgment in
accordance with this decision.4

IT IS SO ORDERED.

                                   s/ Mindy Michaels Roth
                                      Mindy Michaels Roth
                                      Special Master




4
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice renouncing the
right to seek review.

                                                         2
